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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHRISTOPHER E. BROWN,                       )
an individual,                              )
                                            )       CASE NO.:
               Plaintiff,                   )
vs.                                         )
                                            )
TEC FOODS, INC.,                            )
an Illinois Corporation,                    )
                                            )
               Defendant.                   )
                                            /

                                        COMPLAINT

       Plaintiff, CHRISTOPHER E. BROWN, through his undersigned counsel, hereby files

this Complaint and sues TEC FOODS, INC., an Illinois Corporation, for injunctive relief,

attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq., (“AMERICANS WITH

DISABILITIES ACT” or “ADA”) and alleges:

                              JURISDICTION AND PARTIES

1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

       Americans With Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as

       the “ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§

       1331 and 1343.

2.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

3.     Plaintiff, CHRISTOPHER E. BROWN, (hereinafter referred to as “MR. BROWN”), is a

       resident of the State of New York, however, he frequently travels to Chicago as a tourist




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      to watch sporting events involving New York baseball and hockey teams and to enjoy the

      shops, restaurants and other venues in town.

4.    Plaintiff, MR. BROWN is a qualified individual with a disability under the ADA. MR.

      BROWN suffers from Arthrogryposis, which causes him to be confined to a wheelchair.

      The condition also causes atrophy in his arms, hands, shoulders, and elbows, which

      makes it extremely difficult for him to reach for, grip, and manipulate objects.

5.    Due to his disability, Plaintiff MR. BROWN is substantially impaired in several major

      life activities and requires a wheelchair for mobility.

6.    Defendant, TEC FOODS, INC., an Illinois Corporation, (hereinafter referred to as “TEC”

      or “Defendant”), is registered to do business in the State of Illinois. Upon information

      and belief, TEC is the owner and/or operator of the real property and improvements

      which are the subject of this action, to wit: the Property, known as Taco Bell, generally

      located at 3165 North Milwaukee Avenue, Chicago, Illinois 60618.

7.    All events giving rise to this lawsuit occurred in the Northern District of Illinois.

                     COUNT I - VIOLATION OF TITLE III OF THE
                       AMERICANS WITH DISABILITIES ACT

8.    Plaintiff realleges and reavers the preceding paragraphs as if they were expressly restated

      herein.

9.    The Property is a fast food restaurant and is open to the public and provides goods and

      services to the public.

10.   Plaintiff MR. BROWN visited the Property, generally located at 3165 North Milwaukee

      Avenue, Chicago, Illinois 60618, and attempted to utilize the goods and services offered

      at the Property.


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11.   While at the Property, MR. BROWN experienced serious difficulty accessing the goods

      and utilizing the services therein due to the architectural barriers discussed herein.

12.   MR. BROWN continues to desire to visit the Property, but fears that he will again

      encounter serious difficulty due to the barriers discussed herein.

13.   MR. BROWN plans to and will visit the Property in the near future to utilize the goods

      and services offered thereon.

14.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and

      is discriminating against the Plaintiff due to Defendant’s failure to provide and/or correct,

      inter alia, the following barriers to access which were personally observed and

      encountered by Plaintiff:

             A.      Plaintiff encountered inaccessible parking due to a ramp improperly

                     placed directly in the access aisle and excessive slopes;

             B.      Plaintiff encountered an inaccessible curb ramp near the front entry due to

                     excessive slopes and lack of edge protection;

             C.      Plaintiff encountered an inaccessible front entrance due to a raised

                     threshold and excessive vertical changes in level;

             D.      Plaintiff encountered an inaccessible restroom due to improper door

                     hardware; and

             E.      Plaintiff encountered an inaccessible restroom due to lack of grab bars

                     behind the toilet, exposed piping underneath the sinks, and amenities, such

                     as the mirror, mounted excessively high.




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15.    Defendant either does not have a policy to assist people with disabilities or refuses to

       enforce such a policy if it does exist.

16.    Independent of his intent to return as a patron to the Property, Plaintiff additionally

       intends to return to the Property as an ADA tester to determine whether the barriers to

       access discussed herein have been remedied.

17.    Removal of the barriers to access located on the Property is readily achievable,

       reasonably feasible and easily accomplishable without placing an undue burden on

       Defendant.

18.    Removal of the barriers to access located on the Property would allow Plaintiff to fully

       utilize the goods and services located therein.

19.    The Plaintiff has been obligated to retain undersigned counsel for the filing and

       prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees,

       costs, and expenses paid by Defendant.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by

               Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its

               facility to make it accessible and usable by individuals with

               disabilities to the full extent required by Title III of the ADA;




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C.     That the Court enter an Order directing Defendant to evaluate and

       neutralize its policies and procedures towards persons with

       disabilities for such reasonable time so as to allow Defendant to

       undertake and complete corrective procedures;

D.     That the Court award reasonable attorneys’ fees, costs (including

       expert fees), and other expenses of suit, to the Plaintiff; and

E.     That the Court award such other and further relief as it deems

       necessary, just and proper.

                              Respectfully Submitted,

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